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                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW MEXICO



                                                           Case No. 1:24-md-03119-MLG-LF
 IN RE: SHALE OIL ANTITRUST
 LITIGATION



 This Document Relates to All Actions


               DEFENDANTS’ NOTICE OF SUPPLEMENTAL AUTHORITY

        Defendants respectfully call the Court’s attention to In re Concrete & Cement Additives

Antitrust Litigation, 24-md-3097 (LJL) (S.D.N.Y. June 25, 2025) (“Op.”), attached hereto as

Exhibit A, granting defendants’ motion to dismiss an action that, like this case, alleged price

fixing in violation of federal antitrust law and state laws. Like plaintiffs here (Dkt. 129 (“MTD”)

19-20), the Concrete plaintiffs did not allege direct evidence of price fixing but relied on

allegations of parallel conduct and “plus factors” (Op. 21).

        The court rejected the allegations of parallel conduct because the pleaded price increases

were different in amounts, ranging from 1.9% to 20%, and occurred at different times over ten

months. (Id. 21-32.) Here, defendants allegedly changed their production rates by amounts even

more divergent than in Concrete—from -63% to +56%—and the changes occurred over an even

longer period, three years. (MTD 22-24; see also Op. 30 (“Ten months is a long time. Plaintiffs

do nothing to establish how a price increase in the last month or two of that period has any relation to

a price increase at the beginning of the period.”).) Plaintiffs here also “do not identify any

overarching pattern connecting these divergent increases to one another.” (Op. 29.) As in Concrete,

these failures are “fatal to their claims under Section 1.” (Id. 34.)
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       The Concrete court also rejected purported plus factors that track the ones plaintiffs rely

on here—that defendants (i) belonged to the same trade associations; (ii) operated in a highly

consolidated market; (iii) were similarly motivated to conspire; (iv) were subject to

investigations by UK, EC, and U.S. antitrust regulators; (v) did not reduce prices when input

costs declined; and (vi) told investors that they were focused on disciplined pricing to improve

profitability (id. 35-48)—holding they were consistent with competition and did not suggest an

agreement to fix prices. Plaintiffs’ alleged plus factors here similarly do not render the alleged

conspiracy plausible. (MTD 25-32.)

       Finally, because the Section 1 claim failed, the Concrete court dismissed the state law

claims (Op. 48-50), which supports defendants’ similar argument here (MTD 38-39).




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Dated: June 30, 2025                       Respectfully submitted,

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